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                                       Los Angeles Unified School District and Anthony
                                   7   Aguilar
                                   8                          UNITED STATES DISTRICT COURT
                                   9                        CENTRAL DISTRICT OF CALIFORNIA
                                  10
                                  11   CHAYA LOFFMAN and                       Case No. 2:23-cv-01832-CV (MBKx)
                                       JONATHAN LOFFMAN, on their
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                                  12   own behalf and on behalf of their
     LONG BEACH, CA 90802




                                       minor child M.L.; FEDORA NICK           LOS ANGELES UNIFIED SCHOOL
     DANNIS WOLIVER KELLEY




                                  13   and MORRIS TAXON, on their              DISTRICT AND ANTHONY
                                       own behalf and on behalf of their       AGUILAR’S ANSWER TO
                                  14   minor child K.T.; SARAH PERETS          PLAINTIFFS’ COMPLAINT
                                       and ARIEL PERETS, on their own
                                  15   behalf and on behalf of their minor     DEMAND FOR JURY TRIAL
                                       child N.P.; JEAN & JERRY
                                  16   FRIEDMAN SHALHEVET HIGH
                                       SCHOOL; and SAMUEL A.                   Judge :   Hon. Michael B. Kaufman
                                  17   FRYER YAVNEH HEBREW
                                       ACADEMY,
                                  18                                           Complaint Filed:     March 13, 2023
                                                    Plaintiffs,
                                  19                                           Trial Date: None
                                             v.
                                  20
                                       CALIFORNIA DEPARTMENT OF
                                  21   EDUCATION; TONY
                                       THURMOND, in his official
                                  22   capacity as Superintendent of Public
                                       Instruction; LOS ANGELES
                                  23   UNIFIED SCHOOL DISTRICT;
                                       and ANTHONY AGUILAR, in his
                                  24   official capacity as Chief of Special
                                       Education, Equity, and Access,
                                  25
                                                    Defendants.
                                  26
                                  27
                                  28
                                                                      1
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                                                  DEFENDANTS’ ANSWER TO PLAINTIFFS’ COMPLAINT
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                                   1          Defendants Los Angeles Unified School District and Anthony Aguilar’s
                                   2   (“District” or “LAUSD” or “Defendants”) hereby answers the complaint
                                   3   (“Complaint”) of Plaintiffs Chaya Loffman and Jonathan Loffman, on their own
                                   4   behalf and on behalf of their minor child M.L.; Fedora Nick and Morris Taxon, on
                                   5   their own behalf and on behalf of their minor child K.T.; Sarah Perets and Ariel
                                   6   Perets, on their own behalf and on behalf of their minor child N.P.; Jean & Jerry
                                   7   Friedman Shalhevet High School; and Samuel A. Fryer Yavneh Hebrew Academy
                                   8   (“Plaintiffs”), as set forth herein. The following admissions are based on
                                   9   information presently available to Defendants and are either known to be true or are
                                  10   believed to be true based on the Defendants’ current understanding and
                                  11   information. Defendants reserve the right to amend, clarify, and/or supplement the
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                                  12   admissions set forth herein as additional information is discovered or otherwise
     LONG BEACH, CA 90802
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                                  13   becomes known or available to the Defendants throughout the course of this
                                  14   litigation.
                                  15                                         ANSWER
                                  16          For their answer to Plaintiffs’ Complaint (“CMPLT”), Defendants LOS
                                  17   ANGELES UNIFIED SCHOOL DISTRICT AND ANTHONY AGUILAR’S
                                  18   (“District” or “LAUSD” or “Defendants”), admit, deny, and allege as set forth
                                  19   below. The Defendants deny every allegation of the CMPLT not specifically
                                  20   admitted in this Answer.
                                  21          1.      Defendants deny the allegations and characterizations of the lawsuit
                                  22   described in Paragraph 1 of the CMPLT.
                                  23          2.      Defendants deny and lack knowledge or information sufficient to form
                                  24   a belief as to the truth, accuracy, and characterization of the allegations in
                                  25   Paragraph 2 of the CMPLT and, therefore, deny them.
                                  26          3.      Defendants deny and lack knowledge or information sufficient to form
                                  27   a belief as to the truth, accuracy, and characterization of the allegations in
                                  28   Paragraph 3 of the CMPLT and, therefore, deny them.
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                                   1         4.     Defendants admits the facts in Paragraph 4 of the CMPLT.
                                   2         5.     Defendants admits the facts in Paragraph 5 of the CMPLT.
                                   3         6.     Defendants denies the facts in Paragraph 6 of the CMPLT.
                                   4         7.     Defendants deny the allegations and characterizations of California’s
                                   5   implementation of the IDEA as described in Paragraph 7 of the CMPLT.
                                   6         8.     Defendants deny the allegations and characterizations of California’s
                                   7   implementation of the IDEA as described in Paragraph 8 of the CMPLT.
                                   8         9.     Defendants deny the allegations and characterizations of California’s
                                   9   implementation of the IDEA as described in Paragraph 9 of the CMPLT.
                                  10         10.    Defendants admits the facts in Paragraph 10 of the CMPLT.
                                  11         11.    Defendants admits the facts in Paragraph 11 of the CMPLT.
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                                  12         12.    Defendants deny the allegations and characterizations of California’s
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                                  13   implementation of the IDEA and Defendants role in the same as described in
                                  14   Paragraph 12 of the CMPLT.
                                  15         13.    Defendants deny and lack knowledge or information sufficient to form
                                  16   a belief as to the truth, accuracy, and characterization of the allegations in
                                  17   Paragraph 13 of the CMPLT and, therefore, deny them.
                                  18         14.    Defendants deny the allegations and characterizations of the Supreme
                                  19   Court’s ruling and its application to this lawsuit as described in Paragraph 14 of the
                                  20   CMPLT.
                                  21         15.    Defendants deny and lack knowledge or information sufficient to form
                                  22   a belief as to the truth, accuracy, and characterization of the allegations in
                                  23   Paragraph 14 of the CMPLT and, therefore, deny them.
                                  24         16.    Defendants admits the facts and the description of the Court’s
                                  25   authority in Paragraph 16 of the CMPLT.
                                  26         17.    Defendants admits the facts and that venue is correct as described in
                                  27   Paragraph 17 of the CMPLT.
                                  28         18.    Defendants admits the facts and that venue is correct as described in
                                                                                  3
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                                   1   Paragraph 18 of the CMPLT.
                                   2         19.    Defendants deny and lack knowledge or information sufficient to form
                                   3   a belief as to the truth, accuracy, and characterization of the allegations in
                                   4   Paragraph 19 of the CMPLT and, therefore, deny them.
                                   5         20.    Defendants deny and lack knowledge or information sufficient to form
                                   6   a belief as to the truth, accuracy, and characterization of the allegations in
                                   7   Paragraph 19 of the CMPLT and, therefore, deny them.
                                   8         21.    Defendants deny the allegations and characterizations of California’s
                                   9   implementation of the IDEA as described in Paragraph 21 of the CMPLT.
                                  10         22.    Defendants admits the facts in Paragraph 22 of the CMPLT.
                                  11         23.    Defendants deny and lack knowledge or information sufficient to form
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                                  12   a belief as to the truth, accuracy, and characterization of the allegations in
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                                  13   Paragraph 23 of the CMPLT and, therefore, deny them.
                                  14         24.    Defendants admit that, at the time of the filing of the CMPLT, K.T.
                                  15   was a student at a LAUSD charter school. As to the remaining factual allegations,
                                  16   Defendants deny and lack knowledge or information sufficient to form a belief as to
                                  17   the truth, accuracy, and characterization of the remaining allegations in Paragraph
                                  18   24 of the CMPLT and, therefore, deny them.
                                  19         25.    Defendants deny the allegations and characterizations of California’s
                                  20   implementation of the IDEA as described in Paragraph 25 of the CMPLT.
                                  21         26.    Defendants admits the facts in Paragraph 26 of the CMPLT.
                                  22         27.    Defendants deny and lack knowledge or information sufficient to form
                                  23   a belief as to the truth, accuracy, and characterization of the allegations in
                                  24   Paragraph 27 of the CMPLT and, therefore, deny them.
                                  25         28.    Defendants admit that, at the time of the filing of the CMPLT, N.P..
                                  26   was a student at a LAUSD school. As to the remaining factual allegations,
                                  27   Defendants deny and lack knowledge or information sufficient to form a belief as to
                                  28   the truth, accuracy, and characterization of the remaining allegations in Paragraph
                                                                                  4
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                                   1   28 of the CMPLT and, therefore, deny them.
                                   2         29.    Defendants deny the allegations and characterizations of California’s
                                   3   implementation of the IDEA as described in Paragraph 29 of the CMPLT.
                                   4         30.    Defendants admits the facts in Paragraph 30 of the CMPLT.
                                   5         31.    Defendants deny and lack knowledge or information sufficient to form
                                   6   a belief as to the truth, accuracy, and characterization of the allegations in
                                   7   Paragraph 31 of the CMPLT and, therefore, deny them.
                                   8         32.    Defendants deny the allegations and characterizations of California’s
                                   9   implementation of the IDEA as described in Paragraph 32 of the CMPLT.
                                  10         33.    Defendants deny and lack knowledge or information sufficient to form
                                  11   a belief as to the truth, accuracy, and characterization of the allegations in
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                                  12   Paragraph 33 of the CMPLT and, therefore, deny them.
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                                  13         34.    Defendants deny the allegations and characterizations of California’s
                                  14   implementation of the IDEA as described in Paragraph 34 of the CMPLT.
                                  15         35.    Defendants admits the facts in Paragraph 35 of the CMPLT.
                                  16         36.    Defendants admits the facts in Paragraph 36 of the CMPLT.
                                  17         37.    Defendants admits the facts in Paragraph 37 of the CMPLT.
                                  18         38.    Defendants admits the facts in Paragraph 38 of the CMPLT.
                                  19         39.    Defendants admits the facts in Paragraph 39 of the CMPLT.
                                  20         40.    Defendants admits the facts in Paragraph 40 of the CMPLT.
                                  21         41.    Defendants admits the facts in Paragraph 41 of the CMPLT.
                                  22         42.    Defendants admits the facts in Paragraph 42 of the CMPLT.
                                  23         43.    Defendants admits the facts in Paragraph 43 of the CMPLT.
                                  24         44.    Defendants admits the facts in Paragraph 44 of the CMPLT.
                                  25         45.    Defendants admits the facts in Paragraph 45 of the CMPLT.
                                  26         46.    Defendants admits the facts in Paragraph 46 of the CMPLT.
                                  27         47.    Defendants admits the facts in Paragraph 47 of the CMPLT.
                                  28         48.    Defendants admits the facts in Paragraph 48 of the CMPLT.
                                                                                  5
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                                   1         49.    Defendants admits the facts in Paragraph 49 of the CMPLT.
                                   2         50.    Defendants admits the facts in Paragraph 50 of the CMPLT.
                                   3         51.    Defendants admits the facts in Paragraph 51 of the CMPLT.
                                   4         52.    Defendants admits the facts in Paragraph 52 of the CMPLT.
                                   5         53.    Defendants admits the facts in Paragraph 53 of the CMPLT.
                                   6         54.    To the extent allegation sin Paragraph 54 of the CMPLT contain legal
                                   7   argument, no response is necessary
                                   8         55.    Defendants admits the facts in Paragraph 55 of the CMPLT.
                                   9         56.    Defendants admits the facts in Paragraph 56 of the CMPLT.
                                  10         57.    Defendants admits the facts in Paragraph 57 of the CMPLT.
                                  11         58.    Defendants admits the facts in Paragraph 58 of the CMPLT.
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                                  12         59.    To the extent allegation sin Paragraph 54 of the CMPLT contain legal
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                                  13   argument, no response is necessary
                                  14         60.    Defendants admits the facts in Paragraph 60 of the CMPLT.
                                  15         61.    Defendants admits that procedures exist for the waiver of certain
                                  16   conditions for NPS certification, but Defendants deny the characterization of
                                  17   Defendants role in that process in Paragraph 61 of the CMPLT.
                                  18         62.    Defendants admits that procedures exist for the waiver of certain
                                  19   conditions for NPS certification, but Defendants deny the characterization of
                                  20   Defendants role in that process in Paragraph 62 of the CMPLT.
                                  21         63.    Defendants admits the facts in Paragraph 63 of the CMPLT.
                                  22         64.    Defendants deny the facts in Paragraph 64 of the CMPLT.
                                  23         65.    Defendants deny and lack knowledge or information sufficient to form
                                  24   a belief as to the truth, accuracy, and characterization of the allegations in
                                  25   Paragraph 65 of the CMPLT and, therefore, deny them.
                                  26         66.    Defendants deny and lack knowledge or information sufficient to form
                                  27   a belief as to the truth, accuracy, and characterization of the allegations in
                                  28   Paragraph 66 of the CMPLT and, therefore, deny them.
                                                                                  6
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                                   1         67.    Defendants admits the facts in Paragraph 67 of the CMPLT.
                                   2         68.    Defendants admits the facts in Paragraph 68 of the CMPLT.
                                   3         69.    Defendants admits the facts in Paragraph 69 of the CMPLT.
                                   4         70.    Defendants admits the facts in Paragraph 70 of the CMPLT.
                                   5         71.    Defendants deny and lack knowledge or information sufficient to form
                                   6   a belief as to the truth, accuracy, and characterization of the allegations in
                                   7   Paragraph 71 of the CMPLT and, therefore, deny them.
                                   8         72.    Defendants deny and lack knowledge or information sufficient to form
                                   9   a belief as to the truth, accuracy, and characterization of the allegations in
                                  10   Paragraph 72 of the CMPLT and, therefore, deny them.
                                  11         73.    Defendants deny and lack knowledge or information sufficient to form
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                                  12   a belief as to the truth, accuracy, and characterization of the allegations in
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                                  13   Paragraph 73 of the CMPLT and, therefore, deny them.
                                  14         74.    Defendants deny and lack knowledge or information sufficient to form
                                  15   a belief as to the truth, accuracy, and characterization of the allegations in
                                  16   Paragraph 74 of the CMPLT and, therefore, deny them.
                                  17         75.    Defendants deny and lack knowledge or information sufficient to form
                                  18   a belief as to the truth, accuracy, and characterization of the allegations in
                                  19   Paragraph 75 of the CMPLT and, therefore, deny them.
                                  20         76.    Defendants deny and lack knowledge or information sufficient to form
                                  21   a belief as to the truth, accuracy, and characterization of the allegations in
                                  22   Paragraph 76 of the CMPLT and, therefore, deny them.
                                  23         77.    Defendants admit the names of Plaintiffs Chaya, Jonathan, and M.L.
                                  24   Loffman. As to all other facts, Defendants deny and lack knowledge or information
                                  25   sufficient to form a belief as to the truth, accuracy, and characterization of the
                                  26   remaining allegations in Paragraph 77 of the CMPLT and, therefore, deny them.
                                  27         78.    Defendants deny and lack knowledge or information sufficient to form
                                  28   a belief as to the truth, accuracy, and characterization of the allegations in
                                                                                  7
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                                   1   Paragraph 78 of the CMPLT and, therefore, deny them.
                                   2         79.    Defendants deny and lack knowledge or information sufficient to form
                                   3   a belief as to the truth, accuracy, and characterization of the allegations in
                                   4   Paragraph 79 of the CMPLT and, therefore, deny them.
                                   5         80.    Defendants deny and lack knowledge or information sufficient to form
                                   6   a belief as to the truth, accuracy, and characterization of the allegations in
                                   7   Paragraph 70 of the CMPLT and, therefore, deny them.
                                   8         81.    Defendants deny and lack knowledge or information sufficient to form
                                   9   a belief as to the truth, accuracy, and characterization of the allegations in
                                  10   Paragraph 81 of the CMPLT and, therefore, deny them.
                                  11         82.    Defendants deny and lack knowledge or information sufficient to form
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                                  12   a belief as to the truth, accuracy, and characterization of the allegations in
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                                  13   Paragraph 82 of the CMPLT and, therefore, deny them.
                                  14         83.    Defendants deny and lack knowledge or information sufficient to form
                                  15   a belief as to the truth, accuracy, and characterization of the allegations in
                                  16   Paragraph 83 of the CMPLT and, therefore, deny them.
                                  17         84.    Defendants deny and lack knowledge or information sufficient to form
                                  18   a belief as to the truth, accuracy, and characterization of the allegations in
                                  19   Paragraph 84 of the CMPLT and, therefore, deny them.
                                  20         85.    Defendants deny and lack knowledge or information sufficient to form
                                  21   a belief as to the truth, accuracy, and characterization of the allegations in
                                  22   Paragraph 85 of the CMPLT and, therefore, deny them.
                                  23         86.    Defendants deny and lack knowledge or information sufficient to form
                                  24   a belief as to the truth, accuracy, and characterization of the allegations in
                                  25   Paragraph 86 of the CMPLT and, therefore, deny them.
                                  26         87.    Defendants deny and lack knowledge or information sufficient to form
                                  27   a belief as to the truth, accuracy, and characterization of the allegations in
                                  28   Paragraph 87 of the CMPLT and, therefore, deny them.
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                                   1         88.    Defendants deny and lack knowledge or information sufficient to form
                                   2   a belief as to the truth, accuracy, and characterization of the allegations in
                                   3   Paragraph 88 of the CMPLT and, therefore, deny them.
                                   4         89.    Defendants deny and lack knowledge or information sufficient to form
                                   5   a belief as to the truth, accuracy, and characterization of the allegations in
                                   6   Paragraph 89 of the CMPLT and, therefore, deny them.
                                   7         90.    Defendants deny and lack knowledge or information sufficient to form
                                   8   a belief as to the truth, accuracy, and characterization of the allegations in
                                   9   Paragraph 90 of the CMPLT and, therefore, deny them.
                                  10         91.    Defendants admit the names of Plaintiffs Fedora Nick, Morris Taxon,
                                  11   and S.T., A.T., and K.T. As to all other facts, Defendants deny and lack knowledge
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                                  12   or information sufficient to form a belief as to the truth, accuracy, and
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                                  13   characterization of the remaining allegations in Paragraph 91 of the CMPLT and,
                                  14   therefore, deny them.
                                  15         92.    Defendants deny and lack knowledge or information sufficient to form
                                  16   a belief as to the truth, accuracy, and characterization of the allegations in
                                  17   Paragraph 92 of the CMPLT and, therefore, deny them.
                                  18         93.    Defendants admit that at the time the CMPLT was filed, K.T. attended
                                  19   a LAUSD charter school. As to all other facts, Defendants deny and lack
                                  20   knowledge or information sufficient to form a belief as to the truth, accuracy, and
                                  21   characterization of the remaining allegations in Paragraph 93 of the CMPLT and,
                                  22   therefore, deny them.
                                  23         94.    Defendants deny and lack knowledge or information sufficient to form
                                  24   a belief as to the truth, accuracy, and characterization of the allegations in
                                  25   Paragraph 94 of the CMPLT and, therefore, deny them.
                                  26         95.    Defendants deny and lack knowledge or information sufficient to form
                                  27   a belief as to the truth, accuracy, and characterization of the allegations in
                                  28   Paragraph 95 of the CMPLT and, therefore, deny them.
                                                                                  9
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                                   1         96.    Defendants deny and lack knowledge or information sufficient to form
                                   2   a belief as to the truth, accuracy, and characterization of the allegations in
                                   3   Paragraph 96 of the CMPLT and, therefore, deny them.
                                   4         97.    Defendants deny and lack knowledge or information sufficient to form
                                   5   a belief as to the truth, accuracy, and characterization of the allegations in
                                   6   Paragraph 97 of the CMPLT and, therefore, deny them.
                                   7         98.    Defendants deny and lack knowledge or information sufficient to form
                                   8   a belief as to the truth, accuracy, and characterization of the allegations in
                                   9   Paragraph 98 of the CMPLT and, therefore, deny them.
                                  10         99.    Defendants deny and lack knowledge or information sufficient to form
                                  11   a belief as to the truth, accuracy, and characterization of the allegations in
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                                  12   Paragraph 99 of the CMPLT and, therefore, deny them.
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                                  13         100. Defendants deny and lack knowledge or information sufficient to form
                                  14   a belief as to the truth, accuracy, and characterization of the allegations in
                                  15   Paragraph 100 of the CMPLT and, therefore, deny them.
                                  16         101. Defendants deny and lack knowledge or information sufficient to form
                                  17   a belief as to the truth, accuracy, and characterization of the allegations in
                                  18   Paragraph 101 of the CMPLT and, therefore, deny them.
                                  19         102. To the extent allegation sin Paragraph 102 of the CMPLT contain legal
                                  20   argument, no response is necessary
                                  21         103. Defendants deny and lack knowledge or information sufficient to form
                                  22   a belief as to the truth, accuracy, and characterization of the allegations in
                                  23   Paragraph 103 of the CMPLT and, therefore, deny them.
                                  24         104. Defendants deny and lack knowledge or information sufficient to form
                                  25   a belief as to the truth, accuracy, and characterization of the allegations in
                                  26   Paragraph 104 of the CMPLT and, therefore, deny them.
                                  27         105. Defendants deny and lack knowledge or information sufficient to form
                                  28   a belief as to the truth, accuracy, and characterization of the allegations in
                                                                                  10
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                                   1   Paragraph 105 of the CMPLT and, therefore, deny them.
                                   2         106. Defendants admits the facts in Paragraph 106 of the CMPLT.
                                   3         107. Defendants denies the facts in Paragraph 107 of the CMPLT.
                                   4         108. Defendants deny and lack knowledge or information sufficient to form
                                   5   a belief as to the truth, accuracy, and characterization of the allegations in
                                   6   Paragraph 108 of the CMPLT and, therefore, deny them.
                                   7         109. Defendants deny and lack knowledge or information sufficient to form
                                   8   a belief as to the truth, accuracy, and characterization of the allegations in
                                   9   Paragraph 109 of the CMPLT and, therefore, deny them.
                                  10         110. Defendants deny and lack knowledge or information sufficient to form
                                  11   a belief as to the truth, accuracy, and characterization of the allegations in
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                                  12   Paragraph 110 of the CMPLT and, therefore, deny them.
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                                  13         111. Defendants deny and lack knowledge or information sufficient to form
                                  14   a belief as to the truth, accuracy, and characterization of the allegations in
                                  15   Paragraph 111 of the CMPLT and, therefore, deny them.
                                  16         112. Defendants deny and lack knowledge or information sufficient to form
                                  17   a belief as to the truth, accuracy, and characterization of the allegations in
                                  18   Paragraph 112 of the CMPLT and, therefore, deny them.
                                  19         113. Defendants deny and lack knowledge or information sufficient to form
                                  20   a belief as to the truth, accuracy, and characterization of the allegations in
                                  21   Paragraph 113 of the CMPLT and, therefore, deny them.
                                  22         114. Defendants deny and lack knowledge or information sufficient to form
                                  23   a belief as to the truth, accuracy, and characterization of the allegations in
                                  24   Paragraph 114 of the CMPLT and, therefore, deny them.
                                  25         115. Defendants deny and lack knowledge or information sufficient to form
                                  26   a belief as to the truth, accuracy, and characterization of the allegations in
                                  27   Paragraph 115 of the CMPLT and, therefore, deny them.
                                  28         116. Defendants admit the names of Plaintiffs Sarah, Ariel, and N.P. Perets.
                                                                                  11
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                                   1   As to the remaining facts, Defendants deny and lack knowledge or information
                                   2   sufficient to form a belief as to the truth, accuracy, and characterization of the
                                   3   remaining allegations in Paragraph 116 of the CMPLT and, therefore, deny them.
                                   4         117. Defendants deny and lack knowledge or information sufficient to form
                                   5   a belief as to the truth, accuracy, and characterization of the allegations in
                                   6   Paragraph 117 of the CMPLT and, therefore, deny them.
                                   7         118. Defendants admits the facts in Paragraph 106 of the CMPLT.
                                   8         119. Defendants admits the facts in Paragraph 106 of the CMPLT.
                                   9         120. Defendants admits the facts in Paragraph 106 of the CMPLT.
                                  10         121. Defendants deny and lack knowledge or information sufficient to form
                                  11   a belief as to the truth, accuracy, and characterization of the allegations in
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                                  12   Paragraph 121 of the CMPLT and, therefore, deny them.
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                                  13         122. Defendants deny and lack knowledge or information sufficient to form
                                  14   a belief as to the truth, accuracy, and characterization of the allegations in
                                  15   Paragraph 122 of the CMPLT and, therefore, deny them.
                                  16         123. Defendants deny and lack knowledge or information sufficient to form
                                  17   a belief as to the truth, accuracy, and characterization of the allegations in
                                  18   Paragraph 123 of the CMPLT and, therefore, deny them.
                                  19         124. Defendants deny and lack knowledge or information sufficient to form
                                  20   a belief as to the truth, accuracy, and characterization of the allegations in
                                  21   Paragraph 124 of the CMPLT and, therefore, deny them.
                                  22         125. Defendants deny and lack knowledge or information sufficient to form
                                  23   a belief as to the truth, accuracy, and characterization of the allegations in
                                  24   Paragraph 125 of the CMPLT and, therefore, deny them.
                                  25         126. Defendants deny the characterization of California’s implementation
                                  26   of the IDEA and Defendants roll in the same. As to the remaining facts, Defendants
                                  27   deny and lack knowledge or information sufficient to form a belief as to the truth,
                                  28   accuracy, and characterization of the allegations in Paragraph 126 of the CMPLT
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                                   1   and, therefore, deny them.
                                   2         127. Defendants deny and lack knowledge or information sufficient to form
                                   3   a belief as to the truth, accuracy, and characterization of the allegations in
                                   4   Paragraph 127 of the CMPLT and, therefore, deny them.
                                   5         128. Defendants deny and lack knowledge or information sufficient to form
                                   6   a belief as to the truth, accuracy, and characterization of the allegations in
                                   7   Paragraph 128 of the CMPLT and, therefore, deny them.
                                   8         129. Defendants deny and lack knowledge or information sufficient to form
                                   9   a belief as to the truth, accuracy, and characterization of the allegations in
                                  10   Paragraph 129 of the CMPLT and, therefore, deny them.
                                  11         130. Defendants deny and lack knowledge or information sufficient to form
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                                  12   a belief as to the truth, accuracy, and characterization of the allegations in
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                                  13   Paragraph 130 of the CMPLT and, therefore, deny them.
                                  14         131. Defendants denies the facts in Paragraph 106 of the CMPLT.
                                  15         132. Defendants deny and lack knowledge or information sufficient to form
                                  16   a belief as to the truth, accuracy, and characterization of the allegations in
                                  17   Paragraph 132 of the CMPLT and, therefore, deny them.
                                  18         133. Defendants deny and lack knowledge or information sufficient to form
                                  19   a belief as to the truth, accuracy, and characterization of the allegations in
                                  20   Paragraph 133 of the CMPLT and, therefore, deny them.
                                  21         134. Defendants deny and lack knowledge or information sufficient to form
                                  22   a belief as to the truth, accuracy, and characterization of the allegations in
                                  23   Paragraph 134 of the CMPLT and, therefore, deny them.
                                  24         135. Defendants denies the facts in Paragraph 135 of the CMPLT.
                                  25         136. Defendants denies the facts in Paragraph 136 of the CMPLT.
                                  26         137. Defendants deny and lack knowledge or information sufficient to form
                                  27   a belief as to the truth, accuracy, and characterization of the allegations in
                                  28   Paragraph 137 of the CMPLT and, therefore, deny them.
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                                   1         138. Defendants deny and lack knowledge or information sufficient to form
                                   2   a belief as to the truth, accuracy, and characterization of the allegations in
                                   3   Paragraph 138 of the CMPLT and, therefore, deny them.
                                   4         139. Defendants deny and lack knowledge or information sufficient to form
                                   5   a belief as to the truth, accuracy, and characterization of the allegations in
                                   6   Paragraph 139 of the CMPLT and, therefore, deny them.
                                   7         140. Defendants deny and lack knowledge or information sufficient to form
                                   8   a belief as to the truth, accuracy, and characterization of the allegations in
                                   9   Paragraph 140 of the CMPLT and, therefore, deny them.
                                  10         141. Defendants deny and lack knowledge or information sufficient to form
                                  11   a belief as to the truth, accuracy, and characterization of the allegations in
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                                  12   Paragraph 141 of the CMPLT and, therefore, deny them.
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                                  13         142. Defendants deny and lack knowledge or information sufficient to form
                                  14   a belief as to the truth, accuracy, and characterization of the allegations in
                                  15   Paragraph 142 of the CMPLT and, therefore, deny them.
                                  16         143. Defendants deny and lack knowledge or information sufficient to form
                                  17   a belief as to the truth, accuracy, and characterization of the allegations in
                                  18   Paragraph 143 of the CMPLT and, therefore, deny them.
                                  19         144. Defendants deny and lack knowledge or information sufficient to form
                                  20   a belief as to the truth, accuracy, and characterization of the allegations in
                                  21   Paragraph 144 of the CMPLT and, therefore, deny them.
                                  22         145. Defendants deny and lack knowledge or information sufficient to form
                                  23   a belief as to the truth, accuracy, and characterization of the allegations in
                                  24   Paragraph 145 of the CMPLT and, therefore, deny them.
                                  25         146. Defendants deny and lack knowledge or information sufficient to form
                                  26   a belief as to the truth, accuracy, and characterization of the allegations in
                                  27   Paragraph 146 of the CMPLT and, therefore, deny them.
                                  28         147. Defendants deny and lack knowledge or information sufficient to form
                                                                                  14
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                                   1   a belief as to the truth, accuracy, and characterization of the allegations in
                                   2   Paragraph 147 of the CMPLT and, therefore, deny them.
                                   3         148. Defendants deny and lack knowledge or information sufficient to form
                                   4   a belief as to the truth, accuracy, and characterization of the allegations in
                                   5   Paragraph 148 of the CMPLT and, therefore, deny them.
                                   6         149. Defendants deny and lack knowledge or information sufficient to form
                                   7   a belief as to the truth, accuracy, and characterization of the allegations in
                                   8   Paragraph 149 of the CMPLT and, therefore, deny them.
                                   9         150. Defendants deny and lack knowledge or information sufficient to form
                                  10   a belief as to the truth, accuracy, and characterization of the allegations in
                                  11   Paragraph 150 of the CMPLT and, therefore, deny them.
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                                  12         151. Defendants deny and lack knowledge or information sufficient to form
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                                  13   a belief as to the truth, accuracy, and characterization of the allegations in
                                  14   Paragraph 151 of the CMPLT and, therefore, deny them.
                                  15         152. Defendants deny and lack knowledge or information sufficient to form
                                  16   a belief as to the truth, accuracy, and characterization of the allegations in
                                  17   Paragraph 152 of the CMPLT and, therefore, deny them.
                                  18         153. Defendants deny and lack knowledge or information sufficient to form
                                  19   a belief as to the truth, accuracy, and characterization of the allegations in
                                  20   Paragraph 153 of the CMPLT and, therefore, deny them.
                                  21         154. Defendants deny and lack knowledge or information sufficient to form
                                  22   a belief as to the truth, accuracy, and characterization of the allegations in
                                  23   Paragraph 154 of the CMPLT and, therefore, deny them.
                                  24         155. Defendants deny and lack knowledge or information sufficient to form
                                  25   a belief as to the truth, accuracy, and characterization of the allegations in
                                  26   Paragraph 155 of the CMPLT and, therefore, deny them.
                                  27         156. Defendants denies the facts in Paragraph 156 of the CMPLT.
                                  28         157. Defendants admits the facts in Paragraph 157 of the CMPLT.
                                                                                  15
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                                   1         158. Defendants admits the facts in Paragraph 158 of the CMPLT.
                                   2         159. Defendants deny that the school being religious is the sole reason it
                                   3   cannot be certified. As to the other facts alleged, the Defendants admit the
                                   4   remaining facts in Paragraph 159 of the CMPLT.
                                   5         160. Defendants deny that the school being religious is the sole reason it
                                   6   cannot provide the described services. As to the other facts alleged, the Defendants
                                   7   admit the remaining facts in Paragraph 160 of the CMPLT.
                                   8         161. Defendants deny and lack knowledge or information sufficient to form
                                   9   a belief as to the truth, accuracy, and characterization of the allegations in
                                  10   Paragraph 161 of the CMPLT and, therefore, deny them.
                                  11         162. Defendants deny and lack knowledge or information sufficient to form
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                                  12   a belief as to the truth, accuracy, and characterization of the allegations in
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                                  13   Paragraph 162 of the CMPLT and, therefore, deny them.
                                  14         163. Defendants deny and lack knowledge or information sufficient to form
                                  15   a belief as to the truth, accuracy, and characterization of the allegations in
                                  16   Paragraph 163 of the CMPLT and, therefore, deny them.
                                  17         164. Defendants deny and lack knowledge or information sufficient to form
                                  18   a belief as to the truth, accuracy, and characterization of the allegations in
                                  19   Paragraph 164 of the CMPLT and, therefore, deny them.
                                  20         165. Defendants deny and lack knowledge or information sufficient to form
                                  21   a belief as to the truth, accuracy, and characterization of the allegations in
                                  22   Paragraph 1615 of the CMPLT and, therefore, deny them.
                                  23         166. Defendants denies the facts in Paragraph 166 of the CMPLT.
                                  24         167. Defendants admits the facts in Paragraph 167 of the CMPLT.
                                  25         168. Defendants deny that the school being religious is the sole reason it
                                  26   cannot be certified. As to the other facts alleged, the Defendants admit the
                                  27   remaining facts in Paragraph 168 of the CMPLT.
                                  28         169. Defendants deny that the school being religious is the sole reason it
                                                                                  16
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                                   1   cannot provide the services described. As to the other facts alleged, the Defendants
                                   2   admit the remaining facts in Paragraph 169 of the CMPLT.
                                   3         170. Defendants deny that the school being religious is the sole reason it
                                   4   cannot provide the services described. As to the other facts alleged, the Defendants
                                   5   admit the remaining facts in Paragraph 170 of the CMPLT.
                                   6                                   First Cause of Action
                                   7         171. Paragraph 171 of the CMPLT contains no new factual allegations.
                                   8   Defendants incorporate by reference all previous admissions, denials, statements,
                                   9   and allegations.
                                  10         172. Defendants admits the facts in Paragraph 172 of the CMPLT.
                                  11         173. Defendants admits the facts in Paragraph 173 of the CMPLT.
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                                  12         174. Defendants admits the facts in Paragraph 174 of the CMPLT.
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                                  13         175. Paragraph 175 contains only legal argument without factual
                                  14   allegations, so no response is necessary.
                                  15         176. Defendants deny and lack knowledge or information sufficient to form
                                  16   a belief as to the truth, accuracy, and characterization of the allegations in
                                  17   Paragraph 176 of the CMPLT and, therefore, deny them.
                                  18         177. Defendants deny and lack knowledge or information sufficient to form
                                  19   a belief as to the truth, accuracy, and characterization of the allegations in
                                  20   Paragraph 177 of the CMPLT and, therefore, deny them.
                                  21         178. Paragraph 178 contains only legal argument without factual
                                  22   allegations, so no response is necessary.
                                  23         179. Paragraph 179 contains only legal argument without factual
                                  24   allegations, so no response is necessary.
                                  25         180. Paragraph 180 contains only legal argument without factual
                                  26   allegations, so no response is necessary.
                                  27         181. Paragraph 181 contains only legal argument without factual
                                  28   allegations, so no response is necessary.
                                                                                   17
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                                   1         182. Paragraph 182 contains only legal argument without factual
                                   2   allegations, so no response is necessary.
                                   3         183. Defendants deny and lack knowledge or information sufficient to form
                                   4   a belief as to the truth, accuracy, and characterization of the allegations in
                                   5   Paragraph 183 of the CMPLT and, therefore, deny them.
                                   6                                  Second Cause of Action
                                   7         184. Paragraph 184 of the CMPLT contains no new factual allegations.
                                   8   Defendants incorporate by reference all previous admissions, denials, statements,
                                   9   and allegations.
                                  10         185. Defendants admits the facts in Paragraph 185 of the CMPLT.
                                  11         186. Defendants admits the facts in Paragraph 186 of the CMPLT.
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                                  12         187. Paragraph 187 contains only legal argument without factual
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                                  13   allegations, so no response is necessary.
                                  14         188. Defendants admits the facts in Paragraph 185 of the CMPLT.
                                  15         189. Paragraph 189 contains only legal argument without factual
                                  16   allegations, so no response is necessary.
                                  17         190. Paragraph 190 contains only legal argument without factual
                                  18   allegations, so no response is necessary.
                                  19         191. Paragraph 191 contains only legal argument without factual
                                  20   allegations, so no response is necessary.
                                  21         192. Paragraph 192 contains only legal argument without factual
                                  22   allegations, so no response is necessary.
                                  23         193. Paragraph 193 contains only legal argument without factual
                                  24   allegations, so no response is necessary.
                                  25         194. Paragraph 194 contains only legal argument without factual
                                  26   allegations, so no response is necessary.
                                  27         195. Defendants deny and lack knowledge or information sufficient to form
                                  28   a belief as to the truth, accuracy, and characterization of the allegations in
                                                                                   18
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                                   1   Paragraph 195 of the CMPLT and, therefore, deny them.
                                   2                                  Third Cause of Action
                                   3         196. Paragraph 196 of the CMPLT contains no new factual allegations.
                                   4   Defendants incorporate by reference all previous admissions, denials, statements,
                                   5   and allegations.
                                   6         197. Defendants admits the facts in Paragraph 197 of the CMPLT.
                                   7         198. Defendants admits the facts in Paragraph 198 of the CMPLT.
                                   8         199. Paragraph 199 contains only legal argument without factual
                                   9   allegations, so no response is necessary.
                                  10         200. Defendants denies the facts in Paragraph 200 of the CMPLT.
                                  11         201. Paragraph 201 contains only legal argument without factual
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                                  12   allegations, so no response is necessary.
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                                  13         202. Paragraph 202 contains only legal argument without factual
                                  14   allegations, so no response is necessary.
                                  15         203. Paragraph 203 contains only legal argument without factual
                                  16   allegations, so no response is necessary.
                                  17         204. Defendants deny and lack knowledge or information sufficient to form
                                  18   a belief as to the truth, accuracy, and characterization of the allegations in
                                  19   Paragraph 204 of the CMPLT and, therefore, deny them.
                                  20                                  Fourth Cause of Action
                                  21         205. Paragraph 205 of the CMPLT contains no new factual allegations.
                                  22   Defendants incorporate by reference all previous admissions, denials, statements,
                                  23   and allegations.
                                  24         206. Paragraph 206 contains only legal argument without factual
                                  25   allegations, so no response is necessary.
                                  26         207. Paragraph 207 contains only legal argument without factual
                                  27   allegations, so no response is necessary.
                                  28         208. Paragraph 208 contains only legal argument without factual
                                                                                   19
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                                   1   allegations, so no response is necessary.
                                   2         209. Defendants deny and lack knowledge or information sufficient to form
                                   3   a belief as to the truth, accuracy, and characterization of the allegations in
                                   4   Paragraph 209 of the CMPLT and, therefore, deny them.
                                   5                                   Fifth Cause of Action
                                   6         210. Paragraph 210 of the CMPLT contains no new factual allegations.
                                   7   Defendants incorporate by reference all previous admissions, denials, statements,
                                   8   and allegations.
                                   9         211. Defendants admits the facts in Paragraph 211 of the CMPLT.
                                  10         212. Defendants admits the facts in Paragraph 212 of the CMPLT.
                                  11         213. Paragraph 213 contains only legal argument without factual
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                                  12   allegations, so no response is necessary.
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                                  13         214. Paragraph 214 contains only legal argument without factual
                                  14   allegations, so no response is necessary.
                                  15         215. Defendants deny and lack knowledge or information sufficient to form
                                  16   a belief as to the truth, accuracy, and characterization of the allegations in
                                  17   Paragraph 215 of the CMPLT and, therefore, deny them.
                                  18                                   Sixth Cause of Actoin
                                  19         216. Paragraph 216 of the CMPLT contains no new factual allegations.
                                  20   Defendants incorporate by reference all previous admissions, denials, statements,
                                  21   and allegations.
                                  22         217. Defendants admits the facts in Paragraph 217 of the CMPLT.
                                  23         218. Paragraph 218 contains only legal argument without factual
                                  24   allegations, so no response is necessary.
                                  25         219. Paragraph 219 contains only legal argument without factual
                                  26   allegations, so no response is necessary.
                                  27         220. Defendants deny and lack knowledge or information sufficient to form
                                  28   a belief as to the truth, accuracy, and characterization of the allegations in
                                                                                   20
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                                   1   Paragraph 220 of the CMPLT and, therefore, deny them.
                                   2         221. Paragraph 221 contains only legal argument without factual
                                   3   allegations, so no response is necessary.
                                   4         222. Defendants deny and lack knowledge or information sufficient to form
                                   5   a belief as to the truth, accuracy, and characterization of the allegations in
                                   6   Paragraph 222 of the CMPLT and, therefore, deny them.
                                   7                              AFFIRMATIVE DEFENSES
                                   8         Defendants allege the following affirmative defenses. Nothing herein shall
                                   9   be construed as a waiver of any argument by Defendants as to whether the matters
                                  10   asserted herein are true affirmative defenses, or as to which party bears the burden
                                  11   of proof or production on these matters.
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                                  12                           FIRST AFFIRMATIVE DEFENSE
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                                  13         AS A FIRST, SEPARATE AND AFFIRMATIVE DEFENSE TO THE
                                  14   ALLEGATIONS OF THE CMPLT, it is alleged that the CMPLT and each and
                                  15   every claim for relief therein fails to state a claim upon which relief can be granted.
                                  16                         SECOND AFFIRMATIVE DEFENSE
                                  17         AS A SECOND, SEPARATE AND AFFIRMATIVE DEFENSE TO THE
                                  18   ALLEGATIONS OF THE CMPLT, it is alleged that the Court lacks subject matter
                                  19   jurisdiction over Plaintiffs’ claims for declaratory, injunctive, or other prospective
                                  20   relief, and for nominal damages.
                                  21                          THIRD AFFIRMATIVE DEFENSE
                                  22         AS A THIRD, SEPARATE AND AFFIRMATIVE DEFENSE TO THE
                                  23   ALLEGATIONS OF THE CMPLT, it is alleged that the Plaintiffs lack standing to
                                  24   assert claims for declaratory, injunctive, or other prospective relief, and for nominal
                                  25   damages.
                                  26                         FOURTH AFFIRMATIVE DEFENSE
                                  27         AS A FOURTH, SEPARATE AND AFFIRMATIVE DEFENSE TO THE
                                  28   ALLEGATIONS OF THE CMPLT, it is alleged that the Plaintiffs’ claims for
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                                   1   declaratory, injunctive, or other prospective relief, and for nominal damages, are
                                   2   moot.
                                   3                          FIFTH AFFIRMATIVE DEFENSE
                                   4           AS A FIFTH, SEPARATE AND AFFIRMATIVE DEFENSE TO THE
                                   5   ALLEGATIONS OF THE CMPLT, it is alleged that the Plaintiffs’ claims for
                                   6   declaratory, injunctive, or other prospective relief, and for nominal damages, are
                                   7   not ripe for adjudication or are otherwise non-justiciable.
                                   8                          SIXTH AFFIRMATIVE DEFENSE
                                   9           AS AN SIXTH, SEPARATE AND AFFIRMATIVE DEFENSE TO THE
                                  10   ALLEGATIONS OF THE CMPLT, it is alleged that Plaintiffs have failed to
                                  11   exhaust their administrative and/or judicial remedies.
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                                  12                         SEVENTH AFFIRMATIVE DEFENSE
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                                  13           AS AN SEVENTH, SEPARATE AND AFFIRMATIVE DEFENSE TO
                                  14   THE ALLEGATIONS OF THE CMPLT, it is alleged that Defendants are entitled
                                  15   to immunity under the Eleventh Amendment.
                                  16                         EIGHTH AFFIRMATIVE DEFENSE
                                  17           AS AN EIGHTH, SEPARATE AND AFFIRMATIVE DEFENSE TO THE
                                  18   ALLEGATIONS OF THE CMPLT, it is alleged that Defendants are entitled to
                                  19   qualified immunity.
                                  20   ///
                                  21   ///
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                                   1         WHEREFORE, the District prays as follows:
                                   2         1. That Plaintiffs take nothing by reason of the Complaint;
                                   3         2. That judgment be entered in favor of District;
                                   4         3. That District be awarded costs of suit and attorneys’ fees; and
                                   5         4. For such other and further relief as the Court deems just and appropriate.
                                   6
                                   7   DATED: March 11, 2025                     Respectfully submitted,
                                   8                                             DANNIS WOLIVER KELLEY
                                                                                 SUE ANN SALMON EVANS
                                   9                                             WILLIAM G. ASH
                                  10
                                                                                 By: /s/ Sue Ann Salmon Evans
                                  11                                             SUE ANN SALMON EVANS
                                                                                 Attorneys for Defendants
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                                  12                                             Los Angeles Unified School District
     LONG BEACH, CA 90802
     DANNIS WOLIVER KELLEY




                                  13                                             and Anthony Aguilar
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